                            UNITED STATES DISTRICT COURT
                                    District of Minnesota


Elisabeth Cleveland, Amy Larchuk, Christopher               JUDGMENT IN A CIVIL CASE
Redmon, Dhaval Shah, Thomas McCormick,
                                    Plaintiffs,
v.                                                          Case Number: 20-cv-1906 WMW/JFD
Whirlpool Corporation,

                                    Defendant.




☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
   and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

     1. Plaintiffs’ Unopposed Motion for Final Approval of Class Action Settlement, (Dkt. 83), is

     GRANTED.

         a.      The Settlement Class is finally certified, for settlement purposes only, pursuant

                 to Rules 23(a) and 23(b)(3) of the Federal Rules of Civil Procedure.

         b.      The Settlement Agreement is finally approved as being fair, reasonable and

                 adequate pursuant to Rule 23(e) of the Federal Rules of Civil Procedure.

         c.      Plaintiffs Elisabeth Cleveland, Amy Larchuk, Christopher Redmon, Dhaval Shah

                 and Thomas McCormick are confirmed as Class Representatives.

         d.      Harper Segui and Rachel Soffin of Milberg Coleman Bryson Phillips Grossman,
            PLLC, are confirmed as Class Counsel.

     e.     The Court confirms that the Notice Plan complied with the requirements of Rule

            23 of the Federal Rules of Civil Procedure and due process.

     f.     All Settlement Class Members who timely requested exclusion are excluded from

            the Settlement. The Settlement Class Members who did not timely request

            exclusion are hereby bound by the terms of the Settlement Agreement.

2.   Plaintiffs’ Unopposed Motion for Award of Attorneys’ Fees, Litigation Costs, and Service

Awards, (Dkt. 78), is GRANTED.

     a.     The Court awards Plaintiffs’ Counsel attorneys’ fees of $1,456,002.33.

     b.     The Court awards Class Counsel $33,997.67 in litigation costs.

     c.     The Court approves service awards of $2,500 for each Class

            Representative.

3.   Without affecting the finality of this Order and the judgment, the Court retains

     jurisdiction over this matter for the purpose of resolving disputes related to the

     interpretation, administration, implementation, effectuation and enforcement of the

     Settlement Agreement.



 Date: 6/24/2022                                             KATE M. FOGARTY, CLERK
